Information to identify the case:
Debtor 1              Ronald Gene Housman Jr                                            Social Security number or ITIN        xxx−xx−6499
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Eastern District of Michigan
                                                                                        Date case filed for chapter 7 2/4/21
Case number:          21−40979−tjt


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             10/20

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

The court will dismiss this case without a hearing if the debtor(s) do not timely file all the required documents and if no
request for a hearing on dismissal is filed within 21 days after the petition is filed. The Clerk will give notice of the
hearing on dismissal only to the party requesting the hearing, the debtor and the trustee.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Ronald Gene Housman Jr

2.      All other names used in the aka Ronald G. Housman
        last 8 years

3.     Address                               19525 Maxwell
                                             Northville, MI 48167

4.     Debtor's attorney                     Scott D. Kappler                                       Contact phone: (734) 335−7065
                                             199 N. Main Street
       Name and address                      Suite 119
                                             Plymouth, MI 48170

5.     Bankruptcy trustee                    Basil T. Simon                                         Contact phone: (313) 962−6400
                                             645 Griswold
       Name and address                      Suite 3466
                                             Detroit, MI 48226
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1




            21-40979-tjt           Doc 8           Filed 02/06/21         Entered 02/07/21 00:43:31                 Page 1 of 4
Debtor Ronald Gene Housman Jr                                                                                              Case number 21−40979−tjt


6. Bankruptcy clerk's office                    Address of the Bankruptcy Clerk's Office:                        For the Court:
                                                211 West Fort Street                                             Clerk of the Bankruptcy Court:
    Documents in this case may be filed at this Detroit, MI 48226                                                Todd M. Stickle
    address. You may inspect all records filed
    in this case at this office or register online
    at https://pacer.uscourts.gov.                   Contact phone: 313−234−0065                                 Hours open:
                                                                                                                 8:30am−4:00pm Monday−Friday

                                                                                                                 Date: 2/4/21

7. Meeting of creditors                              BY TELEPHONE:                                               Trustee: Basil T. Simon
                                                                                                                 Call in number: 1−866−793−1753
    Debtors must attend the meeting to be            March 11, 2021 at 11:30 AM                                  Passcode: 6655583
    questioned under oath. In a joint case,
    both spouses must attend. Creditors may
    attend, but are not required to do so.           The meeting may be continued or adjourned to a
                                                     later date. If so, the date will be on the court
                                                     docket.

8. Presumption of abuse                              The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                    Filing deadline: 5/10/21
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                     You must file a complaint:
                                                     • if you assert that the debtor is not entitled to
                                                       receive a discharge of any debts under any of the
                                                       subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                       or

                                                     • if you want to have a debt excepted from discharge
                                                       under 11 U.S.C § 523(a)(2), (4), or (6).

                                                     You must file a motion:
                                                     • if you assert that the discharge should be denied
                                                       under § 727(a)(8) or (9).


                                                     Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                     The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                     exempt. If you believe that the law does not authorize an
                                                     exemption claimed, you may file an objection.


10. Proof of claim                                   No property appears to be available to pay creditors. Therefore, please do not file a
                                                     proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless       will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                   deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                                  The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                     not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                     exempt. You may inspect that list at the bankruptcy clerk's office or register online at
                                                     https://pacer.uscourts.gov. If you believe that the law does not authorize an exemption
                                                     that the debtors claim, you may file an objection. The bankruptcy clerk's office must
                                                     receive the objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                               page 2




           21-40979-tjt              Doc 8           Filed 02/06/21              Entered 02/07/21 00:43:31                    Page 2 of 4
                                                              United States Bankruptcy Court
                                                               Eastern District of Michigan
In re:                                                                                                                 Case No. 21-40979-tjt
Ronald Gene Housman, Jr                                                                                                Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0645-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Feb 04, 2021                                               Form ID: 309A                                                             Total Noticed: 15
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 06, 2021:
Recip ID                   Recipient Name and Address
db                     +   Ronald Gene Housman, Jr, 19525 Maxwell, Northville, MI 48167-2646
26870121              #+   Brian O'Rourke, 282 Harpham Street, Commerce Township, MI 48382-3246
26870122               +   Cutting Edge Granite, 24420 Indoplex Circle Drive, Farmington, MI 48335-2530
26870123               +   David A. Chasnick, Esq, 42705 Grand River Ave., Suite 201, Novi, MI 48375-1772
26870124              #+   Denice O'Rourke, 282 Harpham Street, Commerce Township, MI 48382-3246
26870125                   Dr Lisa Stagner, c/o Howard & Howard, 450 West Fourth Street, Royal Oak, MI 48067-2557
26870126               +   G&S Custom Fab Inc., 5546 E 10 Mile Road, Warren, MI 48091-3899
26870127               +   Housman Construction LLC, 19525 Maxwell, Northville, MI 48167-2646
26870128               +   James D. Wagel, 10066 Woodlawn Street, Taylor, MI 48180-3247
26870129               +   Kurt Olson, Esq, 257 N. Main Street, Plymouth, MI 48170-1238
26870130               +   Mark D. Sassak, Esq, 1175 West Long Lake Road, Suite 202, Troy, MI 48098-4455
26870131               +   Ron Housman, 16034 Pine Valley Drive, Northville, MI 48168-9652
26870132               +   Small Business Administration, 14925 Kingsport Road, Fort Worth, TX 76155-2243

TOTAL: 13

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
aty                        Email/Text: skapplerlaw@gmail.com
                                                                                        Feb 04 2021 21:13:00      Scott D. Kappler, 199 N. Main Street, Suite 119,
                                                                                                                  Plymouth, MI 48170
tr                     + EDI: QBTSIMON.COM
                                                                                        Feb 05 2021 01:48:00      Basil T. Simon, 645 Griswold, Suite 3466, Detroit,
                                                                                                                  MI 48226-4216

TOTAL: 2


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.




                21-40979-tjt            Doc 8         Filed 02/06/21             Entered 02/07/21 00:43:31                        Page 3 of 4
District/off: 0645-2                         User: admin                                 Page 2 of 2
Date Rcvd: Feb 04, 2021                      Form ID: 309A                             Total Noticed: 15

Date: Feb 06, 2021                     Signature:    /s/Joseph Speetjens




            21-40979-tjt   Doc 8   Filed 02/06/21   Entered 02/07/21 00:43:31   Page 4 of 4
